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UNITED sTATEs I)ISTRICT CoURT Fu.ED BY_\_.DV/\l‘ ___o.c
FOR THE
wEsTERN DISTRICT oF TENNESSEE 95 _jUN 23 m |g: | 5

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Criminal No.: 05-20223 MI An

UNITED STATES OF AMERICA,

VS.

$ H $ * $ %

CHRISTOPHER L. FRANKS,

APPLICATION. ()RDER and WRIT FOR HABEAS CORPUS AD PROSEOUDUM
David C. Henry applies to the Court for a Writ to have CHRISTOPHER L. FRANKS, DOB
06/10/72, Booking # 051 14506 now being detained in the Shelby County Jail, appear before the Honorable
S. Thomas Anderson, on Thursday, June 30, 2005 at 2:00 p.m., FOR INYTIAL APPEARANCE, and for
such other appearances as this Court may direct
Respectful]y submitted this__2__2n_d day of June, 2005.
Respectfully submitted,

TERRELL L. HARRIS
United States Attorney
\

   
 

Assistant United States Attomey
167 N. Main, Room 800
Memphis, TN 38103

(#012986 Tennessee)

*****W**************k***********W*W******************#***#*******WW******#*******WW**

Upon consideration of the foregoing Application,

DAVlD G. JOLLY, U.S. MARSHAL, WESTERN DISTRlCT OF TENNESSEE, MEMPHIS, TN
MARK LUTTRELL ,SHER]FF/WARDEN, SHELBY COUNTY JAIL

YOU ARE HEREBY COMMANDED to have CHRISTOPHER L. FRANKS, DOB 06/10/72,
Booking # 05114506 appear before the Honorable S. Thcmas Anderson at the date and time aforementioned

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United States Magistrate Judge ,J

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 2:05-CR-20223 Was distributed by faX, mail, or direct printing on
June 22, 2005 to the parties listed.

 

 

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

